         Case 1:16-cr-00243-ELR-UNA Document 187 Filed 09/02/21 Page 1 of 2
             USCA11 Case: 18-12024 Date Filed: 09/02/2021 Page: 1 of 1


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                      September 02, 2021

Clerk - Northern District of Georgia
Richard B. Russell Bldg & US Courthouse
2211 UNITED STATES COURTHOUSE
75 TED TURNER DR SW
STE 2211
ATLANTA, GA 30303-3309

Appeal Number: 18-12024-JJ
Case Style: USA v. Nathan Van Buren
District Court Docket No: 1:16-cr-00243-ODE-JFK-1

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Lois Tunstall
Phone #: (404) 335-6191

Enclosure(s)
                                                                    MDT-1 Letter Issuing Mandate
      Case 1:16-cr-00243-ELR-UNA Document 187 Filed 09/02/21 Page 2 of 2
          USCA11 Case: 18-12024 Date Filed: 09/02/2021 Page: 1 of 1


                           UNITED STATES COURT OF APPEALS
                                 For the Eleventh Circuit
                                     ______________

                                         No. 18-12024
                                        ______________

                                    District Court Docket No.
                                   1:16-cr-00243-ODE-JFK-1

UNITED STATES OF AMERICA,

                                                   Plaintiff - Appellee,

versus

NATHAN VAN BUREN,

                                             Defendant - Appellant.
                       __________________________________________

                       Appeal from the United States District Court for the
                                  Northern District of Georgia
                       __________________________________________

                                          JUDGMENT

It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
entered as the judgment of this Court.

                                    Entered: August 04, 2021
                         For the Court: DAVID J. SMITH, Clerk of Court
                                         By: Jeff R. Patch




ISSUED AS MANDATE 09/02/2021
